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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 7

UBIOME, INC.,1                                              Case No. 19-11938 (LSS)

                                Debtor.
                                                            Objection Deadline: Dec. 17, 2020 at 4:00 p.m. (ET)

                             NOTICE OF SALE OF CERTAIN DE MINIMIS ASSETS
                              (TRADEMARKS, DOMAINS, AND SNS ACCOUNTS)

           PLEASE TAKE NOTICE OF THE FOLLOWING:

                       1.       On September 4, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the District of Delaware (the “Court”), thereby

commencing the chapter 11 case.

                       2.       On October 11, 2019 (the “Conversion Date”), the Court entered an order

converting this case to a case under chapter 7 [Docket No. 162], and Alfred T. Giuliano was

appointed as the chapter 7 trustee [Docket No. 163].

                       3.       On February 26, 2020, the Bankruptcy Court entered Order Granting

Motion of Alfred T. Giuliano, Chapter 7 Trustee, for Order Pursuant to Bankruptcy Code

Sections 105(a), 363, and 554(a) and Bankruptcy Rule 2002 Authorizing and Approving

Procedures for the Sale or Abandonment of De Minimis Assets Free and Clear of Liens, Claims,

Interests, and Encumbrances [Docket No. 277] (the "De Minimis Asset Sale Procedures Order").

The De Minimis Asset Sale Procedures Order established certain procedures for sales of the

Debtor’s assets in any individual transaction or series of related transactions to a single buyer or

1 The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The headquarters
for the above-captioned Debtor was located at 360 Langton Street, Suite 301, San Francisco, CA 94103.



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group of related buyers with an aggregate selling price equal to or less than $250,000.

Capitalized terms not otherwise defined herein have the meanings given to them in the De

Minimis Asset Sale Procedures Order.

                       4.    Pursuant to the De Minimis Asset Sale Procedures Order, the Trustee

hereby provides notice (the “Notice”) of the proposed sale (the “Sale”) of the de minimis assets

described on Exhibit A attached hereto (collectively, the “De Minimis Assets”). Pursuant to the

De Minimis Asset Sale Procedures Order, Exhibit A identifies (i) the De Minimis Assets being

sold, (ii) the purchaser of the assets and any relationship of the party or parties to the Debtor, (iii)

the purchase price, and (iv) the significant terms of the sale agreement, including, but not limited

to, any payments to be made by the Trustee on account of commission fees to agents, brokers,

auctioneers, and liquidators, and (v) instructions consistent with the terms, if applicable.

                       5.    The Sale shall be free and clear of all Liens, if any, with such Liens

attaching only to the sale proceeds with the same validity, extent, and priority as had attached to

the De Minimis Assets immediately before such sale, subject to the rights, claims, defenses, and

obligations, if any, of the Trustee, the Debtor’s estate, and all interested parties with respect to

any such asserted Liens.

                       6.    The Trustee has determined in the reasonable exercise of his business

judgment that the Sale is in the best interests of the Debtor’s estate.

                       7.    Pursuant to the De Minimis Asset Sale Procedures Order, any objection to

the proposed Sale must (a) be in writing, (b) state with specificity the grounds for objection and

(c) be served on the following parties (collectively, the "Objection Parties") so as to be received

by all Objection Parties by no later than 4:00 p.m., Eastern Time, on December 17, 2020

(the "Objection Deadline"): (i) counsel to the Trustee: Pachulski Stang Ziehl & Jones LLP, 919



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North Market Street, 17th Floor, Wilmington, DE 19801 Attn: Bradford J. Sandler and Peter

Keane (bsandler@pszjlaw.com; pkeane@pszjlaw.com); (ii) Office of the United States Trustee,

J. Caleb Boggs Federal Building, 844 N. King Street, Suite 2207, Lock Box 35, Wilmington, DE

19801, Attn: Benjamin A. Hackman (benjamin.a.hackman@usdoj.gov); and (iii) counsel to

Silicon Valley Bank, Morrison & Foerster, Todd M. Goren, Alexander Rheaume, 250 W. 55th

Street, New York, NY 10019 (tgoren@mofo.com; arheaume@mofo.com).

                       8.    In accordance with paragraph 2.f of the De Minimis Asset Sale Procedures

Order, if no objections are served on the Objection Parties by the Objection Deadline pursuant to

the above procedures, then the Bankruptcy Court may enter an order approving the sale of the De

Minimis Assets without further hearing

                       9.    Attached hereto as Exhibit B is the proposed form of order approving the

sale of the De Minimis Assets.

Dated: December 7, 2020                        PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Peter J. Keane
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                                               Colin R. Robinson (DE Bar No. 5524)
                                               Peter J. Keane (DE Bar No. 5503)
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